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                ORAL ARGUMENT NOT YET SCHEDULED

              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


                                                     )
ASSOCIATED ELECTRIC COOPERATIVE,                     )
INC.,                                                )
                                                     )
            Petitioner,                              )
                                                     )
                          v.                         )   No. 15-1223
                                                     )   (consolidated with
UNITED STATES ENVIRONMENTAL                          )   No. 15-1219 and
PROTECTION AGENCY,                                   )   other cases)
                                                     )
            Respondent.                              )
                                                     )


            NONBINDING STATEMENT OF ISSUES OF
     PETITIONER ASSOCIATED ELECTRIC COOPERATIVE, INC.

      Petitioner Associated Electric Cooperative, Inc., (“AECI”) submits this

preliminary and nonbinding statement of issues in this proceeding to review the

final rule of respondent United States Environmental Protection Agency (“EPA”)

under the Resource Conservation and Recovery Act published at 80 Fed. Reg.

21,302 (Apr. 17, 2015), codified at 40 C.F.R. Part 257, and entitled “Hazardous

and Solid Waste Management System; Disposal of Coal Combustion Residuals

from Electric Utilities” (the “CCR Rule”).
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      1.    Whether EPA failed to give adequate notice and opportunity to

comment, as required under the Administrative Procedure Act, 5 U.S.C.

§ 553(b)(3), by adopting regulations requiring the owner or operator of an existing

CCR surface impoundment to (a) conduct an assessment by October 17, 2016,

demonstrating that the calculated seismic factor of safety for the impoundment

equals or exceeds 1.0 and, (b) if compliance with the specified seismic safety

factor cannot be demonstrated by that date, cease placing CCR waste streams into

such impoundment within six months thereafter and proceed to close the

impoundment, as codified at 40 C.F.R. § 257.73(e), when no such requirement was

stated in the proposed rule and nothing in the proposal gave notice that EPA was

considering such a requirement.

      2.    Whether EPA acted arbitrarily, capriciously or otherwise contrary to

law by adopting regulations requiring the owner or operator of an existing surface

impoundment that cannot demonstrate compliance with the seismic safety factor

specified in 40 C.F.R. § 257.73(e) to cease placing CCR waste streams into such

impoundment within two years after promulgation of the CCR Rule without

explaining the basis on which the agency concluded that it was feasible to meet

this two-year deadline and despite information in the administrative record

showing that a longer period was necessary.


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      3.     Whether EPA acted arbitrarily, capriciously or otherwise contrary to

law by adopting regulations requiring the owner or operator of an existing surface

impoundment that cannot demonstrate compliance with the seismic safety factor

specified in 40 C.F.R. § 257.73(e) to cease placing CCR waste streams into such

impoundment within two years after promulgation of the CCR Rule when that

safety factor is defined on the basis of a seismic event that is expected to occur

only once every 2500 years.

      4.     Whether EPA acted arbitrarily, capriciously or otherwise contrary to

law by adopting regulations requiring the owner or operator of an existing surface

impoundment that cannot demonstrate compliance with the seismic safety factor

specified in 40 C.F.R. § 257.73(e) to cease placing CCR waste streams into such

impoundment within two years after the promulgation of the CCR Rule while in

the same rulemaking adopting regulations that allow an existing CCR surface

impoundment that does not meet the seismic impact zone location restriction under

the CCR Rule at 40 C.F.R. § 257.63 to operate for four years after the

promulgation the CCR Rule despite the fact that the two requirements are based on

the same underlying seismic stability standard.

      5.      Whether EPA acted arbitrarily, capriciously or otherwise contrary to

law by adopting regulations that exclude from eligibility for the alternate closure


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requirements under the CCR Rule, codified at 40 C.F.R. § 257.103, any existing

CCR surface impoundment that is required to close for failure to demonstrate

compliance with the seismic safety factor specified in 40 C.F.R. § 257.73(e)

without any explanation and despite the fact that the seismic safety factor specified

in 40 C.F.R. § 257.73(e) is defined on the basis of a seismic event that is expected

to occur only once every 2500 years.

      6.     Whether EPA acted arbitrarily, capriciously or otherwise contrary to

law by adopting regulations requiring the owner or operator of an existing CCR

surface impoundment that does not meet the location restrictions for fault areas or

seismic impact zones under 40 C.F.R. § 257.62 and 40 C.F.R. § 257.63 to cease

placing CCR waste streams in such impoundment within four years after the

promulgation of the CCR Rule rather than within five years, as provided in the

proposed rule, without acknowledging this change from the proposal or explaining

the basis on which the agency concluded that it was feasible for the regulated

community to meet a shorter deadline than proposed despite facts in the record

showing otherwise.

      7.     Whether EPA acted arbitrarily, capriciously or otherwise contrary to

law by adopting regulations subjecting CCR landfills and CCR surface

impoundments to the same substantive stability standard under the location


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restriction for seismic impact zones under 40 C.F.R. § 257.63 despite the agency’s

finding that CCR surface impoundments pose substantially greater risks than CCR

landfills.

       8.    Whether EPA acted arbitrarily, capriciously or otherwise contrary to

law by adopting regulations applying the seismic impact area location restriction to

both new CCR landfills and new CCR surface impoundments (and any lateral

expansion of existing CCR landfills or surface impoundments) while applying this

same location restriction only to existing CCR surface impoundments, and not to

existing CCR landfills, on the basis of the agency’s finding that CCR surface

impoundments pose substantially greater risks than CCR landfills.

       9.    Whether EPA acted arbitrarily, capriciously or otherwise contrary to

law by adopting regulations that establish a location restriction applicable to any

new CCR landfill (and any lateral expansion of an existing CCR landfill) based on

a seismic event that is expected to occur only once every 2500 years without a

factual basis in the administrative record to support this standard and without

evaluating the adverse environmental effects of transporting large quantities of

CCR over long distances to alternate disposal facilities located outside of the

seismic impact area where the location restriction applies.




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      10.    Whether EPA acted arbitrarily, capriciously or otherwise contrary to

law by adopting regulations establishing a substantive stability requirement for any

new CCR landfill or any lateral expansion of an existing CCR landfill that is the

same as the requirement for municipal solid waste (“MSW”) landfills established

by the agency in a prior rulemaking despite information in the administrative

record regarding the different characteristics of CCR landfills and MSW landfills.

      AECI reserves the right to raise any additional issues in the briefs to be filed

in these consolidated cases.

                                       Respectfully submitted,


                                       /s/ Eric J. Murdock
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Dated: August 17, 2015




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                         CERTIFICATE OF SERVICE
      I hereby certify that, on this 17th day of August, 2015, a copy of the

foregoing Nonbinding Statement of Issues of Petitioner Associated Electric

Cooperative, Inc. was served electronically through the court’s CM/ECF on all

registered counsel.


                                       /s/ Eric J. Murdock
                                       Eric J. Murdock




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